                           UNITED STATES BANKRUPTCY COURT
                      MIDDLE DISTRICT OF TENNESSEE (NASHVILLE)

                                     .
       IN RE:                        .             Case No. 3:19-bk-07235
                                     .             Chapter 7
       CUMMINGS MANOOKIAN, PLLC,     .
                                     .
                      Debtor.        .
                                     .
                                     .
       . . . . . . . . . . . . . . . .
       JEANNE ANN BURTON,            .             Adv. No. 3:20-ap-90002
                                     .
                        Plaintiff,   .
                                     .
       v.                            .             701 Broadway
                                     .             Nashville, TN 37203
       HAGH LAW PLLC, et al.,        .
                                     .             Tuesday, April 4, 2023
                        Defendants.  .             8:03 a.m.
       . . . . . . . . . . . . . . . .

         TRANSCRIPT OF MOTION TO RECUSE JUDGE CHARLES M. WALKER [161]
                    BEFORE THE HONORABLE CHARLES M. WALKER
                     UNITED STATES BANKRUPTCY COURT JUDGE

       APPEARANCES:
       For the Plaintiff:              Thompson Burton PLLC
                                       By: PHILLIP G. YOUNG, ESQ.
                                       One Franklin Park
                                       6100 Tower Circle, Suite 200
                                       Franklin, TN 37067
                                       (615) 465-6008
       APPEARANCES CONTINUED.

       Audio Operator:                 Alison DeVore, ECR

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       APPEARANCES (Continued):

       For the Defendants:          Spragens Law PLC
                                    By: JOHN T. SPRAGENS, ESQ.
                                    311 22nd Avenue North
                                    Nashville, TN 37203
                                    (615) 983-8900

                                    Bass, Berry & Sims PLC
                                    By: CRAIG VERNON GABBERT, JR., ESQ.
                                    150 Third Avenue South, Suite 2800
                                    Nashville, TN 37201
                                    (615) 742-6277




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   1         (Proceedings commence at 8:03 a.m.)

   2               THE COURTROOM DEPUTY:       All rise.    The United States

   3   Bankruptcy Court for the Middle District of Tennessee is now in

   4   session.    The Honorable Charles M. Walker presiding.

   5               THE COURT:     Good morning.    Please take your seats.

   6               THE COURTROOM DEPUTY:       Your Honor, we're here on Case

   7   20-90002, Burton v. Hagh Law, PLLC.

   8               THE COURT:     All right.    Mr. Spragens, your motion.

   9               MR. SPRAGENS:     Yes, Your Honor.      Your Honor, as the

  10   Court knows, excuse me, we're here today on a motion to recuse

  11   the Court from proceeding -- presiding over this matter.              I'd

  12   be happy to reserve argument for the end, if that's okay with

  13   the Court, and just go ahead and put on a witness.

  14               THE COURT:     Proceed.

  15               MR. YOUNG:     Your Honor, at this time I'm going to

  16   lodge an objection to any witnesses or exhibits being offered

  17   because of failure to comply with Rule 9014-1.            That rule

  18   requires any witness and exhibit list to be filed by noon on

  19   the second business day prior to a hearing.           That would have

  20   been Friday at noon.

  21               In this case, no witness and exhibit list was filed

  22   until yesterday at about 10:30, and even then it didn't comply

  23   with the rule in that there was no substance of testimony

  24   listed.    So we would object to the presentation of any

  25   witnesses or exhibits in this case.

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   1               THE COURT:     Okay.   Mr. Spragens, response?

   2               MR. SPRAGENS:     Your Honor, it is true that we filed

   3   our exhibit list inside of two business days prior to this

   4   morning's hearing, and I apologize to the Court for that.              That

   5   was an oversight on our part.        I thought that the substance of

   6   the testimony that we were expecting to offer was well known to

   7   everyone since we had put it in the briefing.           I didn't think

   8   there were any surprises there.

   9               So I would ask the Court to let me call Mr. Young to

  10   testify about the limited topic of his conversations with the

  11   Court or the Court staff, for purposes of today's evidentiary

  12   hearing.

  13               THE COURT:     All right.    Mr. Young?

  14               MR. YOUNG:     Yes, Your Honor.

  15               THE COURT:     Do you still have an objection to

  16   offering that limited scope?

  17               MR. YOUNG:     I do, Your Honor, because Rule 9014-1

  18   wasn't complied with, and the Local Rules are here for a

  19   reason.    The Court's order specifically directed the parties to

  20   comply with all federal rules and all local rules.            The Court

  21   put that in the order itself scheduling this hearing.             So we

  22   would have an objection, and if the Court is going to allow me,

  23   I also want to -- is going to allow testimony on my part, I

  24   want to talk about Rule 3.7 of the Rules of Professional

  25   Conduct as well regarding my participation in the hearing, if


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   1   the Court's inclined to allow that testimony.

   2               MR. SPRAGENS:     Your Honor, could I just briefly

   3   respond to that?

   4               THE COURT:     Yes.

   5               MR. SPRAGENS:     I haven't heard any articulation of

   6   prejudice.     I do apologize for failing to follow the local

   7   rule, but I -- since we've talked about this subject now for

   8   several months, and we briefed the testimony that we're seeking

   9   from Mr. Young previously, I don't think there's any unfair

  10   surprise.    And I don't think that the very limited nature of

  11   the testimony we're seeking, you know, there's any prejudice

  12   from filing the list 26 hours in advance of the hearing instead

  13   of 48 hours on business days.

  14               THE COURT:     Well, I guess here's the question.        Since

  15   you've already got Mr. Young's deposition, that's been

  16   submitted in the record already, what new is to be gained by

  17   further testimony from Mr. Young covering the same ground?              Why

  18   not just proceed with your argument?

  19               MR. SPRAGENS:     Well, I would be inclined to ask Mr.

  20   Young if he stands by all the testimony in that deposition,

  21   just to confirm that.       I would certainly be prepared to impeach

  22   him with that testimony if he changes his responses, you know,

  23   typical of any courtroom testimony.

  24               Beyond that, if the Court declines to let Mr. Young

  25   testify today, we do have his deposition transcript, and I


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   1   would ask the Court to take judicial notice of it.

   2               THE COURT:     Okay.

   3               MR. YOUNG:     And we would have no objection to the

   4   entry of that deposition testimony.

   5               THE COURT:     All right.    Well, this one is an

   6   interesting case, as all parties are aware.           The fact that this

   7   case was scheduled last week, so there was an actual additional

   8   week to file and comply with all the rules, makes the Court

   9   hesitant to extend further grace in this matter.            So the Court

  10   is going to sustain the objection lodged by the trustee's

  11   counsel, and you may proceed with your argument.            And,

  12   obviously, the Court's well aware of the issues.            Mr. Young has

  13   given his deposition.       So you're welcome to proceed.

  14               MR. SPRAGENS:     Your Honor, the next matter with

  15   respect to argument is how -- how I might inquire about the

  16   Court's knowledge of ex parte communications between Mr. Young

  17   and the Court's office, or the Court's staff.

  18               As you know, we attempted to notice your deposition

  19   to try to find out what you knew.           You quashed that subpoena.

  20   I've tried to list you again as a witness today because we're

  21   in a tough situation here as a litigant who is -- I'm trying to

  22   find out about ex parte communications between some outside

  23   attorneys and the Court, and we don't know what's been said.

  24   We don't know who said them.        So --

  25               THE COURT:     I think you do know.      You took


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   1   Mr. Young's deposition, and you have exactly what you have that

   2   led to you filing the motion in the first place.            You have my

   3   statements on the record.          You may proceed however you like,

   4   but the Court doesn't have any knowledge other than what you've

   5   already been given.

   6               MR. SPRAGENS:     Okay.    Well, if that's the Court's

   7   statement on the matter, I appreciate it.           Your Honor,

   8   my -- I'll just argue and let you know the way we look at this

   9   issue in this case.

  10               THE COURT:     And let me clarify.      When you say "we,"

  11   Mr. Gabbert, are you joined in with this argument in full or

  12   partially?

  13               MR. GABBERT:     I'm supporting the motion, Your Honor.

  14               THE COURT:     Okay.

  15               MR. SPRAGENS:     So, Your Honor, the fact is this

  16   Court, in setting up the logistics of depositions, which

  17   ordinarily would be occurring at my office when I'm putting

  18   forward a witness -- that's routine in my practice.             You know,

  19   I've got parking places.       I've got a conference room, and we

  20   have depositions there on a weekly or every other weekly basis.

  21   You know, Mr. Young made a representation at a hearing that he

  22   was not comfortable with that deposition being set in my

  23   conference room and with Mr. Manookian testifying there.

  24               We stood at this podium and had a discussion about

  25   that, and the Court undertook to address the hundred pound


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   1   gorilla in the room, that's the Court's language, and what the

   2   Court said was that my client's "past behavior before the

   3   tribunals -- I've had at least two lawyers call the Court and

   4   say they don't feel comfortable if your client is going to

   5   appear and you know the Court takes those concerns very

   6   seriously and makes no conclusion on whether they're valid.

   7   They are perceptions which drive behaviors of other parties."

   8               That was the first I had ever learned or, you know,

   9   my client had ever learned about contact from outside lawyers

  10   with the Court about whether Mr. Manookian posed a safety risk

  11   or whether other people felt uncomfortable, whatever that

  12   means, appearing with him in this court.          We endeavored to

  13   learn more about that.       I did ask Mr. Young those questions

  14   during his deposition.       I learned about one contact that Mr.

  15   Young had had, and that was at the outset of this whole

  16   proceeding.

  17               Mr. Young testified, on Page 44 of his deposition,

  18   that he called this Court's Courtroom Deputy to alert her to

  19   the fact that a creditor's lawyer had an order of protection.

  20   And he, Mr. Young, represented that this was a logistical

  21   question about an order of protection that Dan Puryear had and

  22   that he was contacting the Court about that.           He testified he

  23   believed that the person he spoke to was Lauren, the courtroom

  24   reputy, and the record speaks for himself -- itself that he did

  25   not file a motion about this issue.         He did not alert me at any


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   1   time.     The first we learned about this contact was when the

   2   Court mentioned it, assuming the Court is talking about the

   3   same telephone call that Mr. Young testified about.

   4               So there was an ex parte communication specifically

   5   about the safety risk posed by my client.           That was how we

   6   started this case, and I first learned about that when the

   7   Court mentioned it sua sponte in endeavoring to build a record

   8   sua sponte to justify holding depositions in this courthouse

   9   instead of in the ordinary course at my office.            So to me, that

  10   contact is troubling.       That contact was not disclosed by the

  11   Court.     It was not disclosed by Mr. Young, and I learned about

  12   it in this courtroom from this Court's, you know, statements on

  13   the record.

  14               Then there has been apparently another -- you know,

  15   you said at least two.       I don't know who the second phone call

  16   was.     I don't know what attorney called.       I don't know if it

  17   was Mr. Puryear or somebody else, but there have been

  18   apparently two phone calls to the Court or its personnel about

  19   my client, and the Court formed enough of a view about

  20   Mr. Manookian that it departed from the ordinary course in how

  21   depositions were to be conducted.

  22               I would add that those depositions were completely

  23   uneventful.     We all sat in those -- in those rooms down the

  24   hall and, you know, I can't prove the counterfactual, but

  25   that's how they would have been if they were held at my office


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   1   too.   I have every reason --

   2               THE COURT:     Well, you can't prove that, can you?

   3               MR. SPRAGENS:     No, I can't, Your Honor.

   4               THE COURT:     Were other depositions taken here in the

   5   courthouse?

   6               MR. SPRAGENS:     Yes, Your Honor.

   7               THE COURT:     So it wasn't just Mr. Manookian's

   8   deposition?

   9               MR. SPRAGENS:     That's right.     You ordered that all

  10   depositions would be taken in the courthouse based on the

  11   finding that Mr. Manookian posed some sort of a risk to other

  12   parties.    That's my recollection.       I think that was the basis

  13   for your ruling.

  14               So the -- the issue here is we know about one contact

  15   that is, I think, very prejudicial to my client.            I think the

  16   fact that we departed from the ordinary course demonstrates

  17   that it has tainted the Court's view of my client.            Your

  18   comments about his behavior toward the tribunals and other

  19   lawyers calling, I believe that that gives a reasonable

  20   observer a basis to question this Court's impartiality.

  21               And to this day, I don't know about the second

  22   contact.    I know that there's been another attorney who's

  23   called your chambers, and I don't know who it was.            I don't

  24   know what they said, and this Court never came out and

  25   disclosed that to us until it served the interest of the ruling


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   1   that the Court was making.        It never disclosed it on the

   2   record.    It never said I think everyone just needs to know

   3   about this.     And, certainly, Mr. Young never disclosed his

   4   contact to us, didn't get me on the phone to call the Court.

   5   And there was nothing emergent about the phone call.             It could

   6   have been done through the ordinary adversary process.             It

   7   could have been put on the docket.

   8               So in our view, the two contacts, the failure to

   9   disclose the contacts, the departure from the ordinary course,

  10   all provides a reasonable basis to suggest that this Court's

  11   impartiality can be questioned.         It is not to say that this

  12   Court is a, you know, biased tribunal.          It's not to say that

  13   this Court is unfair, and I make no judgments about this

  14   Court's, you know, fairness or decency.          It's, obviously, not

  15   fun to have to come stand here and argue this motion in front

  16   of you.    However, the standard is an objective standard.             It is

  17   would a reasonable observer question this Court's impartiality,

  18   and I think given the multiple contacts, the lack of

  19   disclosure, and the fact that the litigation somewhat sua

  20   sponte departed from the ordinary course suggests that a

  21   reasonable observer would raise those questions.

  22               So that's why we've asked this Court to recuse

  23   itself.    It shouldn't slow down the litigation.          There are

  24   other bankruptcy judges in this courthouse who can pick right

  25   back up where we left off.        If they have formed views of


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   1   Mr. Manookian, by reading news articles or other interactions

   2   they've had with lawyers in the community, they can disclose

   3   them.     We can figure out what to do about them, and we can find

   4   a bankruptcy judge who doesn't have any knowledge or

   5   prejudgment of Mr. Manookian's character or his propensity for

   6   some sort of unspecified misconduct.

   7               Finally, I would just point out that I don't think

   8   there is anything in the record that suggests that he's ever

   9   behaved in any sort of dangerous or threatening way in front of

  10   a court or in a deposition.        I would just note that for the

  11   record.    So if Your Honor has any questions, I'm happy to

  12   answer them.     I appreciate the hearing.

  13               THE COURT:     Well, are there any documents that have

  14   filed in this case from other tribunals?

  15               MR. SPRAGENS:     I'm not sure I understand what the

  16   Court is asking.

  17               THE COURT:     Just that.    There are documents that have

  18   been filed on the record in this case from other tribunals.

  19   Could that possibly be a way that a court might find out about

  20   what's going on in a case?

  21               MR. SPRAGENS:     If you're talking about the Williamson

  22   County Court in front of Judge Binkley, is that the -- I'm

  23   sorry, Your Honor.       I can't -- it feels a little bit like law

  24   school where I don't know the answer that you're looking for

  25   here, so --


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   1               THE COURT:     I'm not looking for an answer at all,

   2   Mr. Spragens.     I -- and disregard -- disregard the question.

   3               MR. SPRAGENS:     Okay.     I mean, to me I don't know

   4   anything in the record in this case that demonstrates some sort

   5   of misconduct toward a tribunal.         If the Court is suggesting

   6   that it contacted another judge to ask about Mr. Manookian, or

   7   something like that, you know, I think that that's also

   8   improper and an ex parte communication.          So I'd love to hear

   9   about that if that is what we're getting at here.

  10               THE COURT:     That's not what we're getting at.        So any

  11   other argument?

  12               MR. SPRAGENS:     No, Your Honor.     Thank you.

  13               THE COURT:     All right.    Anything, Mr. Gabbert?

  14               MR. GABBERT:     No, Your Honor.

  15               THE COURT:     All right.    Mr. Young?

  16               MR. YOUNG:     Your Honor, Phillip Young on behalf of

  17   the trustee.     I'm going to keep this very brief because this

  18   isn't our motion, and the motion seeks relief that's not

  19   directly related to the trustee's case.          I'll only note really

  20   two things just for the record.

  21               I don't think that scheduling depositions at the

  22   courthouse is a departure from the ordinary course.             Trustees

  23   depose people at the courthouse all the time.           We discussed

  24   that at this status conference.

  25               I also would note that the Chase -- the orders that


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   1   gave rise to the Chase claim, that's what we've referred to it,

   2   so the Williamson County orders have in fact been filed in this

   3   case on multiple occasions by multiple parties, and I

   4   don't -- I think that could certainly form the basis of the

   5   Court's opinion about other tribunals.

   6               We filed a response in this case at Docket Number

   7   174.    The purpose of that response was just to clarify some of

   8   the facts and to clarify the law and the issues related to the

   9   motion.    But unless the Court has further questions of me,

  10   we'll just rely on that response.

  11               THE COURT:     All right.    No questions.

  12               MR. GABBERT:     Just for the record, I've been

  13   practicing in this court for 40 years, over 40 years.             This is

  14   the first case I have ever had that depositions have been

  15   required at the courthouse without any explanation except that.

  16               THE COURT:     All right.    Anything else?

  17               MR. SPRAGENS:     No, Your Honor.       We'll rest on our

  18   brief and the argument presented today.

  19               MR. YOUNG:     Nothing else, Your Honor.

  20               THE COURT:     All right.    The Court will take a short

  21   recess, and I will rule from the bench.

  22               THE COURTROOM DEPUTY:       All rise.

  23          (Recess taken at 8:19 a.m.)

  24          (Proceedings resumed at 9:17 a.m.)

  25               THE COURTROOM DEPUTY:       All rise.


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   1               THE COURT:     Please take your seats.      All right.     We

   2   are here in the Burton v. Hagh, Case Number 20-90002, motion to

   3   disqualify.     I will read an oral ruling from the bench at this

   4   time.     Court would like to thank counsel for the briefings and

   5   the arguments in this case.

   6               This matter is before the Court today to address

   7   Defendant's motion to disqualify the presiding judge from the

   8   case pursuant to 28 U.S.C. Sections 455(a) and (b)(1), and the

   9   Code of Conduct for Federal Judges.         Mr. Gabbert advised the

  10   Court that he joins in the motion on behalf of the Defendants,

  11   Afsoon Hagh and Hagh Law.

  12               We opened today with the objection of the trustee to

  13   the presentation of any witnesses or evidence based on the

  14   motion -- on the movant's failure to comply with Local Rule

  15   9014-1.    Mr. Spragens apologized to the Court and stated that

  16   there was no prejudice from the filing of the witness list a

  17   mere 26 hours prior to the hearing.         That argument begs the

  18   question then why have a rule.        The rules are in place to

  19   maintain the balance and integrity of these proceedings.             That

  20   is why the Court ordered compliance with all applicable federal

  21   and local rules in the order setting this hearing.

  22               It is also important to note that upon Mr. Gabbert's

  23   motion the afternoon before the original hearing, this matter

  24   was continued with no witness list filed prior to that hearing

  25   or in the week after.       And, finally, as Mr. Gabbert so


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   1   graciously reminded the Court, he has been practicing in this

   2   Court for 40 years.      So the rules and procedures are not

   3   unknown to him.      They should, in fact, be second nature.

   4   Therefore, the objection to the presentation of witnesses and

   5   evidence is sustained.

   6               As for the motion, movants allege the -- that

   7   impermissible ex parte communications have occurred between the

   8   Judge, the Judge's chamber staff, and third parties, as well as

   9   Plaintiff's attorney, and this Court failed to disclose these

  10   communications.      They also allege that the judge conducted an

  11   independent investigation involving extra judicial research

  12   into matters regarding Brian Manookian, and these allegations

  13   have resulted in a prejudice against Mr. Manookian.

  14               Although it appears that it is an impermissible

  15   stretch to accuse a sitting judge of having direct

  16   conversations with third parties, as well as conducting an

  17   investigation regarding a person who is not a party to any case

  18   before him, the movants insist that the allegations are so

  19   egregious that disqualification is the only judicial -- the

  20   only judiciable outcome of their motion.

  21               The accusations here are that the judge is prejudice

  22   against a potential witness in this adversary proceeding.              The

  23   accusations are based on various fragments and snippets, both

  24   on and off the record, all attributed to the judge in some

  25   convoluted way and that somehow these allegations pieced


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   1   together, like letters cut from a magazine for a ransom note,

   2   contains some legitimacy simply because Mr. Manookian says they

   3   do.     The motion is rife with language and projections crafted

   4   to incite indignation.       But Mr. Manookian is mistaken to think

   5   that such presentation lends legitimacy to an argument relying

   6   on a reasonable belief.

   7               He is also mistaken to think his judgment rules the

   8   day.     Although his belief is the subject of the motion, that

   9   belief is also subject to a test for reasonableness.             The

  10   determination he seeks is an objective one.           In other words, it

  11   is not legitimate simply because he believes it.            It is only

  12   valid if a reasonable person would believe the same thing.

  13               28 U.S.C. Section 455(a) states any United States

  14   judge shall disqualify himself in any proceeding in which his

  15   impartiality might reasonably be questioned.           28 U.S.C. Section

  16   455(b)(1) states that a judge shall disqualify himself where he

  17   has a personal bias or prejudice concerning a party, or

  18   personal knowledge of disputed evidentiary facts concerning the

  19   proceedings.     Canon 3(c) of the Code of Conduct for Federal

  20   Judges is almost identical to 28 U.S.C. Section 455, requiring

  21   a judge to remove themselves from a case if there is a

  22   reasonable appearance of impartiality, personal bias or

  23   prejudice, or personal knowledge of a disputed evidentiary

  24   fact.

  25               The record, for those of you who might need a


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   1   refresher, is established by either communicating with the

   2   Court while the Court is in session, or by filing something on

   3   the Court docket.      The Court is charged with the integrity of

   4   the record.     Part of maintaining that integrity involves

   5   court -- courts calling for parties to articulate matters on

   6   the record.     It is also important to note that the record

   7   contains past rulings made by a tribunal in the proceedings, or

   8   in the case of a bankruptcy, an adversary to the proceeding.

   9   Moreover, courts communicate with the parties to an action via

  10   the record.     That is why this Court disclosed the ex parte

  11   communications from counsel, regarding the restraining order

  12   against Mr. Manookian, on the record in open court.             That is

  13   why courts disclose these things.

  14               Extrajudicial research, on the other hand, would be

  15   information garnered through means other than reading the

  16   record.    As independent investigation presumably falls under

  17   the category of extrajudicial research, it also would require a

  18   source outside the record.        In the matter before us, the record

  19   extends back to November 6, 2019, and contains the 168 docket

  20   entries in the main bankruptcy case, as well as the 225 docket

  21   entries in this adversary proceeding.          Although the movants

  22   insist that the judge has been prejudiced against

  23   Mr. Manookian, the record reflects no such prejudice.             Although

  24   movants insist that requiring the depositions to be held in the

  25   courthouse reflects the presence of the Court's prejudice


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   1   against Mr. Manookian, what it more reasonably reflects is the

   2   judge's familiarity with the case.

   3               Mr. Spragens stated that Mr. Young called the

   4   courtroom deputy to inform her of an order of protection

   5   against Mr. Manookian by a creditor's attorney, and that was

   6   how we started this case.        First of all, the courtroom deputy

   7   is not a member of Judge Walker's chamber staff.            Secondly,

   8   that is not how we started this case.          The hearing on March 17,

   9   2022, involved cross motions to compel and reflected the

  10   biggest issue so far in this adversary, discovery.            In fact,

  11   the case is comprised mostly of three years of discovery

  12   disputes with rulings reflecting the Court's stamina for

  13   fairness and judiciable administration of the case.

  14               Mr. Spragens sought to take advantage of the Court's

  15   patience by stepping dangerously close to a line with his

  16   accusation that this judge may have had communications with

  17   judges in other tribunals about his client.           His accusation was

  18   with absolutely no basis and was, as I stated, dangerously

  19   close to the line drawn by Rule 11.         The fact is the applicable

  20   standard here is an objective one applied to facts, not applied

  21   to whatever imaginative scenario the movants can conjure up out

  22   of thin air.

  23               Simply because a ruling does not reflect the stated

  24   interest of a party or non-party doesn't mean we default to

  25   disqualifying prejudice.       The transcript shows that the


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   1   decision on March 17, 2022, as on all days, was so that there

   2   would be no advantage or disadvantage to any party.

   3   Illustrative of this, the order that Mr. Manookian's deposition

   4   be scheduled the courthouse.        What is glaringly absent from the

   5   motion is the fact that the judge ordered all depositions to be

   6   conducted under the same terms in that order.           All parties,

   7   including the plaintiff, were to have their depositions at the

   8   courthouse.     This was another ruling in another discovery

   9   controversy with another clearly objective, reasonable, and

  10   fair ruling.

  11               Moreover, none of these issues are material to the

  12   case.    Material to the logistics of the case, sure.           But given

  13   the inability of these parties and these witnesses to conduct

  14   discovery without disagreeing about every little detail, it was

  15   necessary for the judge to rule on all of the discovery matters

  16   and to do so in an equitable, fair, and reasonable manner, and

  17   that he did.

  18               The expectation of lawyers in the discovery process,

  19   as reflected in the applicable rules, is to conduct themselves

  20   in a professional, civil, and agreeable manner in order to

  21   resolve the case either on the merits or by settlement.             The

  22   contentious nature of these discovery proceedings were a beast,

  23   one might say a gorilla, with which the Court has tamed as best

  24   as possible.

  25               Furthermore, this Court never had to rely on


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   1   extrajudicial research.       Now let's get back to the record for

   2   this one.    The record contains the rulings from other tribunals

   3   that have found Mr. Manookian to have acted in bad faith,

   4   engage in a pattern of obfuscation, and conduct himself in a

   5   reckless manner.      Specifically, a Williamson County judge found

   6   that Mr. Manookian had knowingly, willfully, and intentionally

   7   violated a protective order and then attempted to mislead that

   8   court about that violation.        That judge found Mr. Manookian's

   9   behavior regarding discovery matters to be so egregious that he

  10   imposed significant monetary sanctions against him.             All of

  11   this is part of the record in this case.

  12               Additionally, this case did not find that Mr.

  13   Manookian posed a threat.        That would be the state court that

  14   issued the restraining order.        This Court simply sought to

  15   honor that order, as federal courts do with most state court

  16   orders, and to protect the integrity of the proceedings.

  17   Movants neglect to mention that the judge stated having the

  18   depositions in the courthouse protects everyone, including

  19   Mr. Manookian.

  20               Therefore, although the movants express their

  21   perceptions of bias and prejudice, the record does not support

  22   that as a reasonable view.        The record shows not only

  23   evenhanded judgment in this proceeding, but also illustrates

  24   the Court's elevated patience with a painful number of

  25   discovery disputes, including the ones that is the catalyst of


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   1   this motion.

   2               Since any ex parte communication was permissible and

   3   that it was not material, but concerned with security and

   4   administrative procedures within the Court, and because no

   5   extrajudicial research was conducted to impair this Court's

   6   impartiality, it is mandatory that I deny the motion to

   7   disqualify.     Since there was no reasonable possibility that my

   8   objectivity and neutrality has been compromised, it is

   9   incumbent that I remain on the case.          The absence of any

  10   reasonable question regarding my impartiality demands that I

  11   deny the motion to disqualify.

  12               The Court will issue an order containing full

  13   analysis and discussion.       The Court will also enter an order

  14   scheduling an evidentiary hearing on Mr. Manookian's objection

  15   to the motion to compromise in the main case, that hearing

  16   being bifurcated into Mr. Manookian's standing issue and the

  17   substance of his objections.        Any questions?

  18               MR. SPRAGENS:     No, Your Honor.

  19               MR. YOUNG:     No, Your Honor.

  20               THE COURT:     All right.    Court will be adjourned.

  21               THE COURTROOM DEPUTY:       All rise.

  22         (Proceedings concluded at 9:32 a.m.)

  23                                    * * * * *

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   2                          C E R T I F I C A T I O N

   3

   4               I, Alicia Jarrett, court-approved transcriber, hereby

   5   certify that the foregoing is a correct transcript from the

   6   official electronic sound recording of the proceedings in the

   7   above-entitled matter.

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  11   ____________________________

  12   ALICIA JARRETT, AAERT NO. 428            DATE: May 5, 2023

  13   ACCESS TRANSCRIPTS, LLC

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